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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION



 QUINCY BIOSCIENCE, LLC,

        Plaintiff,                                         Case No. 1:17-cv-8292

 v.

 ELLISHBOOKS, ELISHBOOKS
 CORPORATION and                                           JURY REQUESTED
 DOES 1-5

        Defendants.


                     PLAINTIFF’S MOTION FOR ENTRY OF DEFAULT

       Pursuant to Federal Rule of Civil Procedure 55(a), Plaintiff Quincy Bioscience, LLC,

through undersigned counsel, moves for the entry of default against Defendants Ellishbooks and

Elishbooks Corporation for failure to plead or otherwise defend this action as required by law.

Attached hereto as Exhibit A is the Declaration in Support of Plaintiff’s Motion for Entry of

Default. A Proposed Order will be contemporaneously submitted via e-mail for the Court’s

consideration.

       Dated: March 15, 2018.                      Respectfully submitted,

                                                   By: /s/ Sanjay S. Karnik
                                                   Jonathan J. Krit
                                                   Illinois Reg. No. 6201473
                                                   Sanjay S. Karnik
                                                   Illinois Reg. No. 6300156
                                                   AMIN TALATI UPADHYE, LLP
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                                        Attorneys for Plaintiff,
                                        Quincy Bioscience, LLC




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                              CERTIFICATE OF SERVICE

      I hereby certify that on this 15th day of March, 2018 I electronically filed the foregoing

document described as PLAINTIFF’S MOTION FOR ENTRY OF DEFAULT with the Clerk of

Court using the CM/ECF System, and have served Defendants Ellishbooks and Elishbooks

Corporation via U.S. Mail at 103 Governors Road, Lakewood, NJ, 08701-1462.



                                                   /s/ Sanjay S. Karnik
                                                   Jonathan J. Krit
                                                   Illinois Reg. No. 6201473
                                                   Sanjay S. Karnik
                                                   Illinois Reg. No. 6300156
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                                                   Attorneys for Plaintiff,
                                                   Quincy Bioscience, LLC




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